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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 19-198V
                                      (not to be published)

    ************************* *
                                *
    ARNOLD COMEAU, JR.,         *
                                *
                                *                          Filed: November 30, 2020
                    Petitioner, *
                                *
    v.                          *
                                *                          Decision by Stipulation; Damages;
                                *                          Influenza (“Flu”) Vaccine; Guillain-Barré
    SECRETARY OF HEALTH AND     *                          syndrome (“GBS”).
    HUMAN SERVICES,             *
                                *
                                *
                    Respondent. *
                                *
    ************************* *

Bradley Freedberg, Bradley S. Freedberg, P.C., Denver, CO, for Petitioner.
Emilie Williams, U.S. Department of Justice, Washington, DC, for Respondent.

                              DECISION ON JOINT STIPULATION1

       On February 4, 2019, Arnold Comeau Jr. (“Petitioner”) filed a petition, seeking
compensation under the National Vaccine Injury Compensation Program (“the Vaccine
Program”).2 Pet., ECF No. 1. Petitioner alleges he suffered from a Table injury, Guillain-Barré
syndrome (“GBS”) within the Table timeframe as a result of the influenza (“flu”) vaccination he
received on February 2, 2016. See Stipulation ¶ 2, 4, dated November 25, 2020 (ECF No. 28); see
also Petition.


1
 Although this Decision has been formally designated “not to be published,” it will nevertheless be posted
on the Court of Federal Claims’ website in accordance with the E-Government Act of 2002, 44 U.S.C. §
3501 (2012). This means the Decision will be available to anyone with access to the internet. As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of
certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the Decision in its present form will be available. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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         Respondent denies “that [P]etitioner sustained a GBS Table injury, and further denies that
the flu vaccine caused [P]etitioner’s alleged GBS or any other injury or condition.” See Stipulation
¶ 6. Nonetheless, both parties, while maintaining their above-stated positions, agreed in a
stipulation filed November 25, 2020 that the issues before them can be settled and that a decision
should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
is reasonable. I therefore adopt it as my decision in awarding damages on the terms set forth
therein.

       The stipulation awards:

       a lump sum of $150,000.00 in the form of a check payable to [P]etitioner.

Stipulation ¶ 8. This award represents compensation for all damages that would be available under
42 U.S.C. § 300aa-15(a).

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk
of the Court is directed to enter judgment herewith.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly filing notice
renouncing their right to seek review.
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